       Case 2:21-cv-01160-JCM-VCF Document 14 Filed 11/29/21 Page 1 of 2


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      GENTLEMEN'S CLUB; and SHAC MT, LLC
 7
                                   UNITED STATES DISTRICT COURT
 8                                      DISTRICT OF NEVADA

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     CIELO JEAN “CJ” GIBSON, EMMA GLOVER,
10   JULIANNE KLAREN, LINA POSADA,
     MELANIE IGLESIAS, SANDRA VALENCIA,                    Case No. 2:21-CV-01160-JCM-VCF
11   and VIDA GUERRA,
                            Plaintiffs,                    STIPULATION TO EXTEND
12                                                         DEADLINE FOR RESPONSE TO FIRST
                     vs.                                   AMENDED COMPLAINT
13
     SHAC, LLC d/b/a SAPPHIRE GENTLEMEN’S                  (First Request)
14   CLUB; SHAC MT, LLC, EVAN ZAPPOLA
     d/b/a VEGAS VIP KING,
15
                                    Defendants.
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17          Pursuant to LR IA 6-1, Plaintiffs Cielo Jean “CJ” Gibson, Emma Glover, Julianne Klaren,

18   Lina Posada, Melanie Iglesias, Sandra Valencia, and Vida Guerra (collectively, “Plaintiffs”), by and

19   through their counsel, and Defendants SHAC, LLC d/b/a Sapphire Gentlemen’s Club and SHAC

20   MT, LLC (together, the “SHAC Parties”), by and through their counsel, stipulate and agree as

21   follows:

22          1.     On June 17, 2021, Plaintiffs filed their Complaint (ECF No. 1);

23          2.     On July 13, 2021, the SHAC Parties (through their counsel) executed Waivers of

24   Service of Summons forms pursuant to Fed. R. Civ. P. 4(d) (ECF Nos. 5-6);

25          3.     On November 12, 2021, Plaintiffs filed their First Amended Complaint (ECF No. 11),

26   adding Evan Zappola d/b/a Vegas VIP King as an additional Defendant;

27          4.     Plaintiffs are in the process of attempting service of the Summons and First Amended

28   Complaint on Mr. Zappola;

                                                  Page 1 of 2
       Case 2:21-cv-01160-JCM-VCF Document 14 Filed 11/29/21 Page 2 of 2


 1           5.     Due to scheduling conflicts for the SHAC Parties’ counsel and the upcoming holiday,
 2   the time for the SHAC Parties to respond to the First Amended Complaint shall be extended from
 3   November 29, 2021, to December 13, 2021; and
 4           6.     This is the first stipulation for an extension of time for the SHAC Parties to respond
 5   to the First Amended Complaint, and is sought in good faith and not for purposes of delay.
 6           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 7    DATED this 29th day of November, 2021.                 DATED this 29th day of November, 2021.
 8    ALVERSON TAYLOR & SANDERS                              BAILEYKENNEDY
 9    By:     /s/ David M. Sexton                            By:      /s/ Joshua P. Gilmore
            KURT R. BONDS (Nv. Bar No. 6228)                       JOSHUA P. GILMORE
10          DAVID M. SEXTON (Nv. Bar No. 14951)
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11          Las Vegas, NV 89149                              d/b/a SAPPHIRE GENTLEMEN'S
                                                             CLUB; and SHAC MT, LLC
12    Attorneys for Plaintiffs
13

14           IT IS SO ORDERED.
15                                                UNITED STATES MAGISTRATE JUDGE
16                                                              11-29-2021
                                                  DATED:
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